          Case 2:19-cv-00273-JTA Document 31 Filed 08/06/19 Page 1 of 1




                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

RODNEY LEE MAJOR, SR., 247758,                  )
                                                )
          Plaintiff,                            )
                                                )
   v.                                           )       CIVIL ACTION NO. 2:19-CV-273-MHT
                                                )
WALTER MYERS, et al.,                           )
                                                )
          Defendants.                           )

                                    ORDER ON MOTION

        On August 5, 2019, the plaintiff filed a motion for appointment of counsel. Doc. 28. A

review of the complaint demonstrates that the facts underlying the excessive force and failure to

protect claims are clearly understood and easily recited by the plaintiff. In addition, the law

applicable to such claims is not complex nor is the plaintiff required to cite any case law to this

court in order to proceed on his claims. Moreover, it is clear from the complaint and other

documents filed by the plaintiff that he understands the nature of the proceedings herein and is

capable of litigating his claims in this court. Thus, there are no circumstances present herein,

exceptional or otherwise, justifying appointment of counsel at this time. See Bass v. Perrin, 170

F.3d 1312, 1320 (11th Cir. 1999); Kilgo v. Ricks, 983 F.2d 189, 193 (11th Cir. 1993); Dean v.

Barber, 951 F.2d 1210, 1216 (11th Cir. 1992). Accordingly, the interests of justice do not now

warrant appointment of counsel, and it is

        ORDERED that the motion for appointment of counsel be and is hereby DENIED.

        DONE this 6th day of August, 2019.


                                            /s/ Charles S. Coody
                                UNITED STATES MAGISTRATE JUDGE
